Case 2:02-cv-02704-SHI\/|-dkv Document 86 Filed 08/05/05 Page 1 of 2 Page|D 9?

 

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H‘DWS M. GOU.D
ERIC D. wALLAcE, CLE\H<» U-§- E'FW"_CYU'HT
v‘!.»’D 0 .F;, '»-.-€H.APH;S

Plaintiff,
V. CR. NO. 02-2704-Ma

SGT. KENNETH BOYD, et al.,

V`-IH`I\-¢VVV\J

Defendants.

 

ORDER DIRECTING CLERK TO ISSUE WR.IT OF HABEAS CORPUS

 

This matter is set for a pretrial conference on Fridayl
August 26, 2005 at 9:00 a.m. and for a jury trial beginning on
M'ondayl Sept§gp§r 26l 2005 at 9:30 a.m. The plaintiff, Eric D.
wallace, #167693, is confined as a prisoner at Northwest Correctional
Complex, Site 2 Annex, Tiptonville, Tennessee. It is necessary to
have Eric D. Wallace appear in this court for the pretrial conference
and the jury trial.

IT IS THEREFORE ORDERED that the Clerk of Court issue a writ of
habeas corpus ad testificandum to the United States Marshal for the
Western District of Tennessee, and to the Warden, Northwest

Correctional Complex, Tiptonville, Tennessee, to have said Eric D.

Wallace before this court. w %/1¢\1-`

SAMUEL H. M.AYS, JR.
UNITED STATES DISTRICT ».TUDGE

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August , 2005.

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with Rule ah andlor ?'9(2.) FRCP on _. ._...._..___.____ §\__

 

36

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 86 in
case 2:02-CV-02704 Was distributed by faX, mail, or direct printing on
August 9, 2005 to the parties listed.

 

 

Eric D. Wallace
NWCX Site 2 AnneX
960 State Rt 212
Tiptonville7 TN 38079

Bradley W. Flippin

OFFICE OF THE ATTORNEY GENERAL
P.O. Box 20207

Nashville, TN 37202--020

Honorable Samuel Mays
US DISTRICT COURT

